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United States District Court
Eastern District of New York                                              1:19-cv-06736

Lianna King, individually and on behalf of
all others similarly situated,
                                     Plaintiff,

                      - against -                                            Complaint

H Mart, Inc.,
                                     Defendant

           Plaintiff by attorneys alleges upon information and belief, except for allegations pertaining

to plaintiff, which are based on personal knowledge:


           1.      H Mart, Inc. (“defendant”) manufactures, distributes, markets, labels and sells

confections made from mochi (sticky rice) with a purported vanilla ice cream filling, under their

Mochi Mochi brand (“Products”).1

           2.      The Products are available to consumers from defendant's retail stores in at least


1
    Wikipedia contributors. "Mochi ice cream." Wikipedia, The Free Encyclopedia. 4 Nov. 2019. Web. 29 Nov. 2019.


                                                         1
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twelve (12) states including New York, California, Illinois, Pennsylvania, Texas, Virginia and

Massachusetts and defendant’s website and are sold in boxes containing 6 pieces of 1.5 FL OZ (9

FL OZ).

        3.     The “Japanese sticky rice dough” known as Mochi “can be traced as far back as the

year 794 A.D.”2

        4.     The dough is “pounded until it becomes a paste” and then molded to the intended

shape and baked.3

        5.     The origins of Mochi Ice Cream however are less exact, with sources citing its

creation in Hawaii, California and Japan.

        6.     This novelty frozen dessert consists of “a ball of ice cream encased in pillowy soft,

rice paste mochi, and dusted with potato or corn starch.”4

        7.     The combination of the cold ice cream and the chewy softness of the mochi

contribute to a unique sweetness and texture.

        8.     Mochi ice cream is unique for reasons not limited to (1) its availability not only in

traditional flavors like vanilla, chocolate and strawberry but in novel flavors like green tea and

mango and (2) it is intended to be eaten with one’s fingers, making it a convenient snack not

requiring a spoon.

        9.     The relevant front label representations include “Mochi Mochi,” “Japanese Ice

Cream Bonbons,” “Mochi Ice Cream,” “Vanilla,” “Imagine a harmonious combination of creamy

gourmet ice cream wrapped in a sweetened rice confection,” an image of the vanilla flower and a

picture of the Product.


2
  Rachel Seis, This Japanese Ice Cream Is Taking Over. Here’s What You Need to Know., Taste of Home, Jan. 10,
2019.
3
  Brianna Vasquez, Mochi…The Newest Food Trend, The Buzz, City Tech CUNY, Nov. 17, 2016.
4
  Food & Drink Resources, The Asian Ice Cream Trend Is Everything This Summer.


                                                     2
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       10.    The back label contains the same identity statement and product description as the

front label but also contains the Nutrition Facts and ingredient list.




                                                  3
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I.      Ice Cream Products

        11.    Ice cream is a year-round treat enjoyed by 96% of Americans.5

        12.    Its popularity is attributed “to the perfect combination of elements – sugar, fat, frozen

water, and air – that make up the mouthwatering concoction.”6

        13.    Ice cream is defined by a minimum of 10 percent milkfat, weighing no less than 4.5

pounds to the gallon and containing less than 1.4 % egg yolk solids.7


5
  Arwa Mahdawi, The big scoop: America's favorite ice-cream flavor, revealed, The Guardian, July 11, 2018
6
  Vox Creative, The Reason You Love Ice Cream So Much Is Simple: Science, Eater.com, October 12, 2017.
7
  21 C.F.R. § 135.110(a)(2) (“Ice cream and frozen custard.”).


                                                       4
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        14.     When ice cream has 1.4% or more egg yolk solids as part of its base, it is referred to

as “french ice cream.”8

        15.     According to ice cream lore, Thomas Jefferson “invented” vanilla ice cream when

he learned of vanilla during his ambassadorship to France and managed to obtain a sample.

        16.     Upon returning to Monticello, he mixed this bottle with the frozen milk and cream

dessert he was fond of consuming while drafting the Declaration of Independence.9

        17.     President Jefferson is reported to have even imported vanilla so this new frozen dairy

treat could be served at his inaugural ball.


II.     Vanilla is Perennial Favorite Ice Cream Flavor

        18.     Vanilla is the consistent number one flavor for 28% of consumers, confirmed two

groups who would know – the International Dairy Foods Association (IDFA) (ice cream

producers) and National Ice Cream Retailers Association (ice cream parlors).

        19.     The reasons for vanilla’s staying power are “not only because it is creamy and

delicious, but also because of its ability to enhance so many other desserts and treats.”10

        20.     By some estimates, approximately two-thirds of “all ice cream eaten is either vanilla

or vanilla with something stirred into it, like chocolate chips.”11

        21.     The applications of vanilla ice cream include its centerpiece between chocolate

wafers (“sandwich”), enrobed in chocolate on a stick (“bar”), topping a warm slice of fresh-baked



8
  21 C.F.R. § 135.110(f)(1).
9
  Thomas Jefferson’s Handwritten Vanilla Ice Cream Recipe, Open Culture, July 13, 2014; Thomas Jefferson’s Vanilla
Ice Cream, Taste of Home, June-July 2012; Thomas Jefferson’s Original Vanilla Ice Cream Recipe, Jefferson Papers,
Library of Congress; Anna Berkes, “Ice Cream” in Thomas Jefferson Encyclopedia, Thomas Jefferson Foundation,
Inc., Monticello.org, June 28, 2013
10
   Press Release, IDFA, Vanilla Reigns Supreme; Chocolate Flavors Dominate in Top Five Ice Cream Favorites
Among Americans, July 1, 2018
11
   Bill Daley (the other one), Which vanilla ice cream is the cream of the crop? We taste test 12 top brands, Chicago
Tribune, July 18, 2018


                                                         5
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pie (“à la Mode”), drizzled with hot fudge and sprinkled with crushed nuts and topped by a

maraschino cherry (“sundae”) or dunked in a cold frothy glass of root beer (“float”).12


III.    Vanilla is Constantly Subject to Efforts at Imitation Due to High Demand

        22.    The tropical orchid of the genus Vanilla (V. planifolia) is the source of the prized

flavor commonly known as vanilla, defined by law as “the total sapid and odorous principles

extractable from one-unit weight of vanilla beans.”13

        23.    Vanilla’s “desirable flavor attributes…make it one of the most common ingredients

used in the global marketplace, whether as a primary flavor, as a component of another flavor, or

for its desirable aroma qualities.”14

        24.    Though the Pure Food and Drugs Act of 1906 (“Pure Food Act”) was enacted to

“protect consumer health and prevent commercial fraud,” this was but one episode in the perpetual

struggle against those who have sought profit through sale of imitation and lower quality

commodities, dressed up as the genuine articles.15

        25.    It was evident that protecting consumers from fraudulent vanilla would be

challenging, as E. M. Chace, Assistant Chief of the Foods Division of the U.S. Department of

Agriculture’s Bureau of Chemistry, noted “There is at least three times as much vanilla consumed

[in the United States] as all other flavors together.”16

        26.    This demand could not be met by the natural sources of vanilla, leading



12
   The True Wonders of Vanilla Ice Cream, FrozenDessertSupplies.com.
13
   21 C.F.R. §169.3(c).
14
   Daphna Havkin-Frenkel, F.C. Bellanger, Eds., Handbook of Vanilla Science and Technology, Wiley, 2018.
15
   Berenstein, 412; some of the earliest recorded examples of food fraud include unscrupulous Roman merchants who
sweetened wine with lead.
16
   E. M. Chace, “The Manufacture of Flavoring Extracts,” Yearbook of the United States Department of Agriculture
1908 (Washington, DC: Government Printing Office, 1909) pp.333–42, 333 quoted in Nadia Berenstein, "Making a
global sensation: Vanilla flavor, synthetic chemistry, and the meanings of purity," History of Science 54.4 (2016):
399-424 at 399.


                                                        6
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manufacturers to devise clever, deceptive and dangerous methods to imitate vanilla’s flavor and

appearance.

        27.     Today, headlines tell a story of a resurgent global threat of “food fraud” – from olive

oil made from cottonseeds to the horsemeat scandal in the European Union.17

        28.     Though “food fraud” has no agreed-upon definition, its typologies encompass an

ever-expanding, often overlapping range of techniques with one common goal: giving consumers

less than what they bargained for.


     A. Food Fraud as Applied to Vanilla

        29.     Vanilla is considered a “high-risk [for food fraud] product because of the multiple

market impact factors such as natural disasters in the source regions, unstable production, wide

variability of quality and value of vanilla flavorings,” second only to saffron in price.18

        30.     The efforts at imitating vanilla offers a lens to the types of food fraud regularly

employed across the spectrum of valuable commodities in today’s interconnected world.19

        Type of Food Fraud                                       Application to Vanilla

 ➢ Addition of markers
                                         •    Manipulation of the carbon isotope ratios to produce
      specifically tested for
                                              synthetic vanillin with similar carbon isotope composition
      instead of natural
                                              to natural vanilla
      component of vanilla beans

 ➢ Appearance of more and/or             •    Ground vanilla beans and/or seeds to provide visual appeal
      higher quality of the valued            as “specks” so consumer thinks the product contains real


17
   Jenny Eagle, ‘Today’s complex, fragmented, global food supply chains have led to an increase in food fraud’,
FoodNavigator.com, Feb. 20, 2019; M. Dourado et al., Do we really know what’s in our plate?. Annals of Medicine,
51(sup1), 179-179 (May 2019); Aline Wisniewski et al., "How to tackle food fraud in official food control authorities
in Germany." Journal of Consumer Protection and Food Safety: 1-10. June 11, 2019.
18
   Société Générale de Surveillance SA, (“SGS “), Authenticity Testing of Vanilla Flavors – Alignment Between
Source Material, Claims and Regulation, May 2019.
19
   Kathleen Wybourn, DNV GL, Understanding Food Fraud and Mitigation Strategies, PowerPoint Presentation, Mar.
16, 2016.


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     ingredient                              vanilla beans, when the ground beans have been exhausted
                                             of flavor
                                        •    Caramel to darken the color of an imitation vanilla so it
                                             more closely resembles the hue of real vanilla20
                                        •    Annatto and turmeric extracts in dairy products purporting
                                             to be flavored with vanilla, which causes the color to better
                                             resemble the hue of rich, yellow butter

                                        •    Tonka beans, though similar in appearance to vanilla
 ➢ Substitution and
                                             beans, are banned from entry to the United States due to
     replacement of a high
                                             fraudulent use
     quality ingredient with
                                        •    Coumarin, a toxic phytochemical found in Tonka beans,
     alternate ingredient of
                                             added to imitation vanillas to increase vanilla flavor
     lower quality
                                             perception

 ➢ Addition of less expensive
                                        •    Synthetically produced ethyl vanillin, derived from
     substitute ingredient to
                                             recycled paper, tree bark or coal tar, to imitate taste of real
     mimic flavor of more
                                             vanilla
     valuable component

                                        •    “to mix flavor materials together at a special ratio in which
                                             they [sic] compliment each other to give the desirable
                                             aroma and taste”21
 ➢ Compounding, Diluting,
                                        •    Combination with flavoring substances such as propenyl
     Extending
                                             guaethol (“Vanitrope”), a “flavoring agent [, also]
                                             unconnected to vanilla beans or vanillin, but unmistakably
                                             producing the sensation of vanilla”22




20
   Renée Johnson, “Food fraud and economically motivated adulteration of food and food ingredients." Congressional
Research Service R43358, January 10, 2014.
21
   Chee-Teck Tan, "Physical Chemistry in Flavor Products Preparation: An Overview" in Flavor Technology, ACS
Symposium Series, Vol. 610 1995. 1-17.
22
   Berenstein, 423.


                                                         8
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                                         •   “Spiking” or “fortification” of vanilla through addition of
                                             natural and artificial flavors including vanillin, which
                                             simulates vanilla taste but obtained from tree bark

                                         •   Injection of vanilla beans with mercury, a poisonous
 ➢ Addition of fillers to give               substance, to raise the weight of vanilla beans, alleged in
      the impression there is                International Flavors and Fragrances (IFF), Inc. v. Day
      more of the product than               Pitney LLP and Robert G. Rose, 2005, Docket Number L-
      there actually is                      4486-09, Superior Court of New Jersey, Middlesex
                                             County.

                                         •   Subtle, yet deliberate misidentification and obfuscation of
                                             a product’s components and qualities as they appear on the
                                             ingredient list
                                              o “ground vanilla beans” gives impression it describes
                                                  unexhausted vanilla beans when actually it is devoid
                                                  of flavor and used for aesthetics
 ➢ Ingredient List Deception23                o “natural vanilla flavorings” – “-ing” as suffix referring
                                                  to something like that which is described
                                              o “Vanilla With Other Natural Flavors” – implying –
                                                  wrongly – such a product has a sufficient amount of
                                                  vanilla to characterize the food; often containing high
                                                  amount of vanillin, which must be disclosed as an
                                                  artificial flavor when paired with vanilla


     B. The Use of Vanillin to Simulate Vanilla

        31.     The most persistent challenger to the authenticity of real vanilla has been synthetic

versions of its main flavor component, vanillin.

        32.     First synthesized from non-vanilla sources by German chemists in the mid-1800s,



23
  Recent example of this would be “evaporated cane juice” as a more healthful sounding term to consumers to identify
sugar.


                                                         9
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 vanillin was the equivalent of steroids for vanilla flavor.

         33.    According to Skip Rosskam, a professor of vanilla at Penn State University and

 former head of the David Michael flavor house in Philadelphia, “one ounce of vanillin is equal to

 a full gallon of single-fold vanilla extract.”24

         34.    Today, only 1-2% of vanillin in commercial use is vanillin obtained from the vanilla

 plant, which means that almost all vanillin has no connection to the vanilla bean.

         35.    Nevertheless, disclosure of this powerful ingredient has always been required where

 a product purports to be flavored with vanilla. See Kansas State Board of Health, Bulletin, Vol. 7,

 1911, p. 168 (cautioning consumers that flavor combinations such as “vanilla and vanillin…vanilla

 flavor compound,” etc., are not “vanilla [extract] no matter what claims, explanations or formulas

 are given on the label.”).

         36.    Since vanilla is the only flavor with its own standard of identity, its labeling is

 controlled not by the general flavor regulations but by the standards for vanilla ingredients.

         37.    This means that if a product is represented as being characterized by vanilla yet also

 contains non-vanilla vanillin, the label and packaging must declare the presence of vanillin and

 identify it as an artificial flavor. See Vanilla-vanillin extract at 21 C.F.R. § 169.180(b) (“The

 specified name of the food is "Vanilla-vanillin extract _-fold" or "_-fold vanilla-vanillin extract",

 followed immediately by the statement "contains vanillin, an artificial flavor (or flavoring)".); see

 also 21 C.F.R. § 169.181(b), § 169.182(b) (similar declarations required for Vanilla-vanillin

 flavoring and Vanilla-vanillin powder).

         38.    This prevents consumers from being misled by products which may taste similar to

 real vanilla and but for consumer protection requirements, would be sold at the price of real vanilla.


 24
   Katy Severson, Imitation vs. Real Vanilla: Scientists Explain How Baking Affects Flavor, Huffington Post, May
 21, 2019.


                                                       10
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        C. “Natural Vanillins” are Produced in a Non-Natural Manner

            39.    The past ten years have seen the introduction of vanillin ingredients that purport to

 be a “natural flavor,” based on the raw material being a natural source and undergoing a natural

 production process.

            40.    However, the starting material, eugenol, is subjected to high heat and high pressure

 in conversion to vanillin, which is actually considered by the FDA to be a synthetic method.

            41.    These low-cost “natural vanillins” are produced by the ton in China, with little

 transparency or verification, before being delivered to the flavor companies for blending.


        D. Vanilla “WONF” to Imitate Real Vanilla

            42.    The global shortage of vanilla beans has forced the flavor industry to “innovate[ing]

 natural vanilla solutions…to protect our existing customers.”25

            43.    These “customers” do not include the impoverished vanilla farmers who are at the

 mercy of global conglomerates nor consumers, who are sold products labeled as “vanilla” for the

 same or higher prices than when those products contained only vanilla.

            44.    The flavor industry has reacted to the high vanilla prices with programs like the

 “Sustainable Vanilla Initiative” and “Rainforest Alliance Certified.”

            45.    However, these initiatives have been silently questioned among the vanilla farmers

 of Madagascar, where there have been whispers that contrary to seeking “sustainability” of vanilla,

 the food and flavor conglomerates are actually working in the opposite direction.

            46.    This entails paying Madagascar vanilla farmers to destroy their vanilla crops instead

 of taking the uncured beans to market.

            47.    Fewer vanilla beans means higher prices, which benefit the flavor industry because


 25
      Amanda Del Buouno, Ingredient Spotlight, Beverage Industry, Oct. 3, 2016.


                                                          11
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 products like vanilla extract have low margins – there is no advanced synthetic biology or

 proprietary formula for this basic, yet essential ingredient.

         48.     While this conclusion is not directly stated, it is apparent from the comments of

 industry executives.

         49.     According to Suzanne Johnson, vice president or research at a North Carolina

 laboratory, “Many companies are trying to switch to natural vanilla with other natural flavors

 [WONF] in order to keep a high-quality taste at a lower price.”

         50.     The head of “taste solutions” at Irish conglomerate Kerry, urged flavor

 manufacturers must “[G]et creative” and “build a compounded vanilla flavor with other natural

 flavors.”

         51.     These compounded flavors typically exist in a “black box” and “consist of as many

 as 100 or more flavor ingredients,” blended together in a special ratio to complement and enhance

 the vanilla component.26

         52.     A compounded vanilla flavor “that matches the taste of pure vanilla natural extracts”

 can supposedly “provide the same vanilla taste expectation while requiring a smaller quantity of

 vanilla beans. The result is a greater consistency in pricing, availability and quality.”27

         53.     That high level executives in the flavor industry are willing to openly boast of their

 stratagems to give consumers less vanilla for the same price is not unexpected.

         54.     This is due in part to the once powerful and respected trade group for the flavor

 industry, The Flavor and Extract Manufacturers Association (“FEMA”), abandoning its “self-




 26
    Hallagan and Drake, FEMA GRAS and U.S. Regulatory Authority: U.S. Flavor and Food Labeling Implications,
 Perfumer & Flavorist, Oct. 25, 2018; Charles Zapsalis et al., Food chemistry and nutritional biochemistry. Wiley,
 1985, p. 611 (describing the flavor industry’s goal to develop vanilla compound flavors “That Seem[s] to be Authentic
 or at Least Derived from a Natural Source”) (emphasis added).
 27
    Donna Berry, Understanding the limitations of natural flavors, BakingBusiness.com, Jan. 16, 2018.


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 policing” of misleading vanilla labeling claims and disbanding its Vanilla Committee.

          55.   Though FEMA previously opposed efforts of industry to deceive consumers, it cast

 the general public to the curb in pursuit of membership dues from its largest members.


 IV.      Ice Cream Flavor Labeling

          56.   Daphna Havkin-Frenkel, editor of the Handbook of Vanilla Science and Technology,

 and a leading scholar and researcher on vanilla, summarized the flavoring requirements in the

 context of ice cream flavored by vanilla:28

                     There are three categories of vanilla ice cream, as defined by the FDA
                     Standard of Identity. Vanilla ice cream Category I contains only vanilla
                     extract. Vanilla ice cream Category II contains vanilla made up of 1 oz
                     of synthetic vanillin per 1 gallon of 1-fold vanilla extract. Vanilla ice
                     cream Category III contains synthetic ingredients.

          57.   Carol McBride, U.S. vanilla category manager for global flavor giant Symrise, noted

 these requirements and their effect on consumers: “If the flavor comes partially or fully from

 another source, the company must stamp ‘vanilla flavored’ or ‘artificial vanilla’ on the front of the

 package, a likely turnoff to consumers.”29


       A. Early Ice Cream Flavoring Debate is “Stirring”

          58.   Before formal regulations were enacted, Congressional Hearings from the 1930s

 offered the legislature the opportunity to state their position on the non-misleading designation of

 flavors on ice cream products.

          59.   Unsurprisingly, the starting point for the debate was how to label vanilla ice cream

 flavored with added vanillin from clove oil, a natural source material.

          60.   Why, the industry, asked Congress, could they not label their products as “vanilla ice


 28
    Daphna Havkin-Frenkel and Faith C. Belanger, eds., Handbook of Vanilla Science and Technology, Wiley, 2018
 (221).
 29
    Melody M. Bomgardner, “The problem with vanilla,” Chemical & Engineering News, Sept. 12, 2016.


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 cream” if it contained vanillin from sources other than vanilla beans?

        61.   In response, Congressmen E.A. Kenny of New Jersey and Virgil Chapman of

 Kentucky inquired of ice cream’s representative, Mr. Schmidt:

        Mr. Kenney: Do you not think, though, Mr. Schmidt, that if you label it vanilla
                    ice cream, it ought to be vanilla; and if it is made with vanillin
                    extracted from oil of cloves, you ought to label it manufactured
                    with such vanillin?

        Mr. Schmidt: Well, we, of course, do not think so. That is why we are here
                     making our protest. We think, after all, the consuming public is
                     accustomed to accepting as vanilla artificial vanillas.

        Mr. Kenney: We agree that Barnum educated us along that line a long time ago.
                    (emphasis added)

        ……………

        Mr. Chapman: I do think that if it is chocolate it ought to be labeled “chocolate”;
                     and if it is flavored with vanillin made from oil of cloves, it ought
                     to be labeled to show that it is flavored with vanillin made from oil
                     of cloves; and if it is flavored with vanilla, it ought to be labeled
                     "vanilla"; and if it is " flavored with lemon, it ought to be labeled
                      lemon "; and if it is cherry, it ought to be labeled "cherry.”

        62.   Later in the hearing, Mr. Chapman and another industry representative engaged over

 the proper declaration of flavor for ice cream:

                Mr. Chapman: Do you make raspberry?

                Mr. Hibben       Yes.

                Mr. Chapman      And you put that on the label?

                Mr. Hibben       We say “raspberry ice cream.”

                Mr. Chapman      And if it is peach, you put that on the label?

                Mr. Hibben       It Is peach ice cream; yes.

                Mr. Chapman And If you call it vanilla, what do you put on?

                Mr. Hibben       We put "vanilla ice cream" on our labels. That Is what we
                                 want to continue to do. We want to put vanilla on those
                                 labels.


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                  Mr. Chapman        But you say you put in It oil of cloves instead of vanilla.

                  Mr. Hibben         We do not use cloves. We use vanillin derived from the
                                     oil of cloves.

                  Mr. Chapman        If you put out strawberry ice-cream, you would not want
                                     to use raspberry to make it, would you?

                  Mr. Hibben         No; but we use vanillin, which is an ingredient of the
                                     vanilla bean and, its true to name.

                  Mr. Chapman        Is it an extract from the vanilla bean?

                  Mr. Hibben         It is both. It is taken both from the eugenol and the vanilla
                                     bean and is the same product. If you were a chemist you
                                     could not tell the difference, and if you were a doctor, you
                                     would say that one is just as harmless as the other.

                  Mr. Chapman        I do not object to buying artificial vanilla ice cream if it is
                                     pure, but if it is artificial. I would like to know what I am
                                     getting.30

         63.    Even before ice cream standards were established, Congress framed the central

 question for ice cream flavoring as whether the flavor source was entirely derived from the

 characterizing flavor – i.e., raspberry for raspberry ice cream, vanilla for vanilla ice cream.


      B. Ice Cream Flavoring Regulations

         64.    The ice cream standard of identity, 21 C.F.R. § 135.110, established in the early

 1960s “provided for a system for designating characterizing flavors in ice cream which has come

 to be referred to as the ‘3 category flavor labeling.’” Exhibit “A,” FDA, Taylor M. Quinn,

 Associate Director for Compliance, Bureau of Foods, to Glenn P. Witte, International Association

 of Ice Cream Manufacturers, May 31, 1979 (“Quinn Letter, May 31, 1979”).

         65.    The requirements “recognize[s] three distinct types of ice cream, based on the use of



 30
   One of the reasons for the emphasis on flavor derived from the characterizing flavor was ice cream’s status as a
 high value, expensive product, made mainly from milk and cream. The use of ersatz flavoring lowered the quality of
 an otherwise valued item.


                                                        15
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 natural and various combinations of natural and various combinations of natural and artificial

 flavors that characterize this food.” Exhibit “A,” Quinn Letter, May 31, 1979; see 21 C.F.R. §

 135.110(f)(2)(i)-(iii); 21 C.F.R. § 135.110(f)(3)-(5).

                              Vanilla Ice Cream Labeling Quick Chart
  Category                    Label Diagram                       Flavor Source           Authority
                                                                                         (21 C.F.R.)
  I              [“characterizing flavor”] + [“ice cream”] → Vanilla Beans           §135.110(f)(2)(i)
                 “Vanilla Ice Cream” or “Strawberry Ice
                 Cream”

  II             [“characterizing flavor”] + [“flavored”] + Vanilla Beans;           §135.110(f)(2)(ii)
                 [“ice cream”] → “Vanilla Flavored Ice Non-Vanilla
                 Cream” or “Peach Flavored Ice Cream”       Beans

  III            [“artificial” or “artificially flavored”] + Vanilla Beans;          §135.110(f)(2)(iii)
                 [“characterizing flavor”] + [“ice cream”] → Non-Vanilla
                 “Artificially Flavored Vanilla Ice Cream” or Beans
                 “Artificially Flavored Strawberry Ice
                 Cream”


           66.   The key distinction between labeling flavors in ice cream compared to other foods is

 in the meaning of “natural flavor.”

           67.   In ice cream, “natural flavor” refers to flavor derived only from the characterizing

 flavor, while “artificial flavor” refers to flavors derived from sources other than the characterizing

 flavor.

           68.   For a category 1 ice cream, which “contains no artificial flavor, the name on the

 principal display panel or panels of the label shall be accompanied by the common or usual name

 of the characterizing flavor, e.g., ‘vanilla,’ in letters not less than one-half the height of the letters

 used in the words ‘ice cream.’” 21 C.F.R. §135.110(f)(2)(i); see Quinn Letter, May 31, 1979 (“the

 designation of a characterizing flavor for category I ice cream is based on the premise that only

 natural flavor derived from the product whose flavor is simulated may be used.”).



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         69.    Categories 2 and 3 may contain a natural characterizing flavor and artificial flavor

 simulating it, but differ based on whether the natural characterizing flavor predominates. See 21

 C.F.R. §135.110(f)(2)(ii) (“Category II”) (“If the food contains both a natural characterizing flavor

 and an artificial flavor simulating it, and if the natural flavor predominates”); 21 C.F.R.

 §135.110(f)(2)(iii) (“Category 3”) (“If the food contains both a natural characterizing flavor and

 an artificial flavor simulating it, and if the artificial flavor predominates”); Exhibit “A,” Quinn

 Letter, May 31, 1979 (“The flavor designation for category II ice cream is on the basis that the

 product contains both natural and artificial flavor, but the natural flavor predominates, whereas in

 category III the artificial flavor predominates.”).

         70.    The non-vanilla flavor which simulates the natural characterizing vanilla flavor is

 deemed to predominate when “the amount of vanillin used is greater than 1 ounce per unit of

 vanilla constituent.” See 21 C.F.R. §135.110(f)(5)(i); Exhibit “B,” FDA, R.E. Newberry, Assistant

 to the Director, Division of Regulatory Guidance, Bureau of Foods, to Daniel P. Thompson,

 October 30, 1979 (“Newberry Letter, October 30, 1979”) (a non-vanilla flavor “is deemed to

 simulate [resemble or reinforce] vanilla if the addition of the non-vanilla flavor results in a

 reduction in the amount of vanilla bean derived flavor that would otherwise be used in a vanilla

 flavored ice cream…such a product would come under category III and have to be labeled as

 ‘artificial vanilla.’”).

         71.    The requirements – and resulting consumer expectations for almost fifty years – are

 clear: “the flavor agent for vanilla ice cream (a category I product) is limited to vanilla bean and/or

 flavor derived from vanilla beans.” Exhibit “A,” Quinn Letter, May 31, 1979; see also Exhibit

 “C,” Summers Letter, April 10, 1979 (“A product identified as ‘Vanilla Ice Cream’ is subject to

 the category 1 ice cream requirements and, therefore, must contain only the characterizing flavor




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 derived from vanilla beans,” “the standard for ice cream does not provide for the label designation

 of “With other [natural] flavors” (WONF).”).


 V.         Flavoring Regulations for Ice Cream are Distinct from Other Foods

            72.    The flavor regulations for ice creams are separate from the general flavor regulations

 for other foods. Compare 21 C.F.R. § 135.110(f)(2)-(5) with 21 C.F.R. § 101.22; Exhibit “A,”

 Quinn Letter, May 31, 1979 (“The general flavor regulations are not applicable to this standardized

 food.”).

            73.    The ice cream flavor designations were “established long before the development of

 the general flavor regulations published under 21 CFR 101.22.” Exhibit “C,” FDA, J.L. Summers,

 Assistant to the Director, Division of Regulatory Guidance, Bureau of Foods, April 10, 1979 to

 David B. Daugherty              (“Summers Letter, April 10, 1979”) (“Consequently, the labeling

 requirements for the declaration of flavors in the name of ice cream are specifically provided for

 by the standard and is separate and apart from the general flavor regulations.”).31

            74.    Under 21 C.F.R. § 101.22(a)(3), “natural flavor” is defined generally as “the essential

 oil, oleoresin, essence or extractive…which contains the flavoring constituents” from a natural

 source such as plant material and can refer to combinations of natural flavors.

            75.    “Artificial flavor” in contrast is any substance whose function is to impart flavor that

 is not derived from a natural source. See 21 C.F.R. § 101.22(a)(1).

            76.    For the purposes of designating the type of ice cream on the front label, whether a

 flavor complies with the general definition of natural flavor in other regulations has no relevance.

 Exhibit “C,” Summers Letter, April 10, 1979 (“A product identified as ‘Vanilla Ice Cream’ is

 subject to the category I ice cream requirements and, therefore, must contain only the


 31
      Compare 21 C.F.R. § 135.110(f)(2)-(5) with 21 C.F.R. § 101.22.


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 characterizing flavor derived from vanilla beans.”); Exhibit “A,” Quinn Letter, May 31, 1979 (“It

 is our understanding that there are available in the market place, natural flavoring compounds that

 resemble, simulate and/or enhance vanilla flavor but are not derived from vanilla bean. These

 flavor compounds would not comply with the intent of the flavor provisions of Category I ice

 cream”).

            77.    This is because 21 C.F.R. § 135.110(f) “makes no provision for any natural flavors

 other than natural characterizing flavors.” Exhibit “D,” Joseph Hile, Associate Commissioner for

 Regulatory Affairs, February 9, 1983, Formal Advisory Opinion at p. 9 (“Hile Letter, February 9,

 1983”) (“FDA must treat all natural flavors that simulate the characterizing flavor as artificial

 flavors when deciding what name should appear on the principal display panel”).32

            78.    At best, “[N]atural flavors not derived from vanilla beans may be used in

 combination with the standardized items included under 21 CFR 169 (vanilla-vanillin extract or

 vanilla-vanillin flavoring) for category II vanilla flavored ice cream provided that the flavoring

 contributed by or derived from the vanilla beans predominates.” Exhibit “E,” FDA, Quinn to

 Kenneth Basa, August 22, 1979 (“Quinn Letter, August 22, 1979”).


 VI. The Products are Misleading Because they Contain Non-Vanilla, Artificial Flavoring


            79.    “Vanilla ice cream” is understood by consumers to identify a product where (1)

 vanilla is the characterizing flavor, (2) vanilla is contained in a sufficient amount to characterize

 flavor the product, (3) the flavor is derived from vanilla extract or vanilla flavoring, (4) no other

 flavors simulate, resemble, reinforce, or enhance flavoring from vanilla, (5) vanilla is the exclusive

 source of flavor.



 32
      21 C.F.R. § 135.110(f) was previously 21 C.F.R. § 135.110(e).


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        80.       The Products contain the term “Vanilla” prominently on the front label, without any

 qualification.


    A. Ingredient List Declaration of “Artificial Vanilla Flavor” Reveals Flavor is Not Exclusively
       Vanilla

        81.       The ingredient list reveals the Product is flavored by “Artificial Vanilla Flavor.”

                                              Ingredient List




    INGREDIENTS: Fresh Milk, Fresh Cream, Condensed Milk, Sugar, Corn Syrup,
    Stabilizer, Containing: Microcrystalline Cellulose, Vegetable Gum, Mono-diglycerides,
    Polysorbate 80, Carrageenan, Artificial Vanilla Flavor (Water, Propylene Glycol, Ethyl
    alcohol, Caramel Color), Rice Flour, Water, Pasteurized Egg White, Corn Starch /
    Contains Milk and Egg

        82.       Where a product is labeled as a type of, or containing, vanilla ice cream, without any

 or adequate qualification, but the ingredient list identifies “Artificial Vanilla Flavor,” it means (1)

 the flavoring is not from vanilla, (2) the artificial vanilla flavor contains synthetic methyl vanillin

 and/or ethyl vanillin and (4) the use of non-vanilla flavors allow the use of less or no real vanilla.

        83.       Had the Products flavoring derived exclusively from vanilla, the ingredient list would

 declare the common or usual names of one or more of the exclusively vanilla ingredients, viz,

 Vanilla Extract, Concentrated Vanilla Extract, Vanilla Flavoring and Concentrated Vanilla

 Flavoring, and not declare any other flavor ingredient. See 21 C.F.R. §§ 169.175 to 169.178.

        84.       The exclusively vanilla ingredients – vanilla flavoring, vanilla extract, etc. – differ

 only in that the former is at least thirty-five (35) percent ethyl alcohol while the latter is less than




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 this amount.33

          85.    Because ice cream is a standardized food and the vanilla ingredients are subject to

 their own standards of identity, the designation of these vanilla ingredients is controlled by 21

 U.S.C. §343(g) – they are required to be specifically declared:34

                   A food shall be deemed to be misbranded –

                   (g) Representation as to definition and standard of identity

                   If it purports to be or is represented as a food for which a definition and standard of
                   identity has been prescribed by regulations as provided by section 341 of this title,
                   unless (1) it conforms to such definition and standard, and (2) its label bears the
                   name of the food specified in the definition and standard, and, insofar as may be
                   required by such regulations, the common names of optional ingredients (other than
                   spices, flavoring, and coloring) present in such food.

          86.    The Product’s use of the term “Natural Flavors” is beyond the regulatory embrace of

 the general flavoring regulations, because this term’s meaning in the context of ice cream is

 distinct.

          87.    Had the Product sought to adequately inform consumers of the presence of the

 exclusive use of non-vanilla, artificial flavors, the front label name of the characterizing flavor,

 vanilla, is required to be preceded by “artificial” or “artificially flavored” – “Artificial Vanilla” or

 “Artificially Flavored Vanilla.”35

          88.    The components of the “Artificial Vanilla Flavor” include caramel coloring.


 VII.     Coloring Misleads Consumers to Expect Products Contain More Vanilla Than They Do

          89.    The Products contain caramel coloring as a component of the artificial vanilla flavor,

 indicated on the ingredient list.

          90.    Caramel coloring’s usage in vanilla is one of the types of “food fraud” described with


 33
    21 C.F.R. §§ 169.175 (Vanilla extract.), 169.177 (Vanilla flavoring.); also concentrated versions of each of these.
 34
    21 U.S.C. § 343(g)(2) read with 21 C.F.R. § 135.110(f)(2)(i) and 21 C.F.R. §§ 169.175 – 169.178.
 35
    21 C.F.R. § 135.110(f)(iii).


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 respect to this food, since it darkens the color of the synthetic solution used in place of real vanilla.

         91.      The added coloring provided to the Products by caramel modifies the color of the

 vanilla ice cream to a color closer to a vanilla ice cream flavored exclusively by flavor from the

 vanilla plant.

         92.      The darker color makes the consumer (1) less likely to question or be skeptical of the

 amount and type of vanilla in the Products, (2) expect the Products to be similar to other, accurately

 labeled vanilla ice creams and (3) expect the Products contain more vanilla than they actually do.


 VIII.    Conclusion


         93.      The proportion of the characterizing component, vanilla, has a material bearing on

 price or consumer acceptance of the Products because it is more expensive and desired by

 consumers.

         94.      The Products are misleading because they do not contain the amount, type and

 percentage of vanilla as a component of the flavoring in the ice cream, which is required and

 consistent with consumer expectations.

         95.      Had plaintiff and class members known the truth, they would not have bought the

 Product or would have paid less for it.

         96.      The Product contains other representations which are misleading and deceptive.

         97.      As a result of the false and misleading labeling, the Product is sold at a premium

 price, approximately no less than $5.99 per 9 FL OZ, excluding tax – compared to other similar

 products represented in a non-misleading way.

                                          Jurisdiction and Venue


         98.      Jurisdiction is proper pursuant to 28 U.S.C. § 1332(d)(2) (Class Action Fairness Act



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 of 2005 or “CAFA”).

         99.   Under CAFA, district courts have “original federal jurisdiction over class actions

 involving (1) an aggregate amount in controversy of at least $5,000,000; and (2) minimal

 diversity[.]" Gold v. New York Life Ins. Co., 730 F.3d 137, 141 (2d Cir. 2013).

         100. Upon information and belief, the aggregate amount in controversy is more than

 $5,000,000.00, exclusive of interests and costs.

         101. This is a reasonable assumption because defendant’s Product is sold in thousands of

 stores across all 50 states.

         102. Plaintiff Lianna King is a citizen of New York.

         103. Defendant H Mart, Inc. is a Delaware corporation with a principal place of business

 in Lyndhurst, Bergen County, New Jersey.

         104. This court has personal jurisdiction over defendant because it conducts and transacts

 business, contracts to supply and supplies goods within New York.

         105. Venue is proper because plaintiff and many class members reside in this District and

 defendant does business in this District and State.

         106. A substantial part of events and omissions giving rise to the claims occurred in this

 District.

                                                    Parties

         107. Plaintiff Lianna King is a citizen of Kings County, New York.

         108. Defendant is a Delaware corporation with a principal place of business in Lyndhurst,

 Bergen County, New Jersey.

         109. During the class period, plaintiff purchased one or more of the Products identified

 herein, in his or her district and/or state, for personal use, consumption or application based on the

 above representations, for no less than the price indicated, supra, excluding tax,


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        110. Plaintiff would consider purchasing the Product again if there were assurances that

 the Product’s representations were no longer misleading.

                                          Class Allegations


        111. The classes will consist of all consumers in New York and the other 49 states and a

 nationwide class where applicable.

        112. Common questions of law or fact predominate and include whether the

 representations were likely to deceive reasonable consumers and if plaintiff and class members are

 entitled to damages.

        113. Plaintiff's claims and basis for relief are typical to other members because all were

 subjected to the same representations.

        114. Plaintiff is an adequate representative because his or her interests do not conflict with

 other members.

        115. No individual inquiry is necessary since the focus is only on defendant’s practices

 and the class is definable and ascertainable.

        116. Individual actions would risk inconsistent results, be repetitive and are impractical

 to justify, as the claims are modest.

        117. Plaintiff's counsel is competent and experienced in complex class action litigation

 and intends to adequately and fairly protect class members’ interests.

        118. Plaintiff seeks class-wide injunctive relief because the practices continue.

                           New York General Business Law (“GBL”) §§ 349 & 350

        119. Plaintiff asserts causes of action under the consumer protection statutes of New York,

 General Business Law (“GBL”) §§ 349 & 350.

        120. Defendant’s acts and omissions are not unique to the parties and have a broader



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 impact on the public.

        121. Plaintiff and class members desired to purchase products which were as described

 by defendant and expected by reasonable consumers, given the product type.

        122. Defendant’s acts and omissions are not unique to the parties and have a broader

 impact on the public.

        123. Defendant’s conduct was misleading, deceptive, unlawful, fraudulent, and unfair

 because it gives the impression to consumers the Products contain sufficient amounts of the

 highlighted ingredient, vanilla, to characterize the taste or flavor of the Products.

                                           Negligent Misrepresentation

        124. Plaintiff incorporates by reference all preceding paragraphs.

        125. Defendant misrepresented the substantive, quality, compositional, organoleptic

 and/or nutritional attributes of the Products through misrepresenting the amount, quantity and/or

 proportion of the flavoring ingredient.

        126. Defendant had a duty to disclose and/or provide non-deceptive labeling of the

 Product and its components and ingredients, and knew or should have known same were false or

 misleading.

        127. This duty is based on defendant’s position as an entity which has held itself out as

 having special knowledge and experience in the production, service and/or sale of the product or

 service type.

        128. The representations took advantage of consumers’ (1) cognitive shortcuts made at

 the point-of-sale and (2) trust placed in defendant, a well-known and respected brand in this sector.

        129. Plaintiff and class members reasonably and justifiably relied on these negligent

 misrepresentations and omissions, which served to induce and did induce, the purchase of the




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 Products.

        130. Plaintiff and class members would not have purchased the Products or paid as much

 if the true facts had been known, suffering damages.

             Breaches of Express Warranty, Implied Warranty of Merchantability and
                   Magnuson Moss Warranty Act, 15 U.S.C. §§ 2301, et seq.

        131. Plaintiff incorporates by reference all preceding paragraphs.

        132. Defendant manufactures and sells products which purport to contain sufficient

 amounts of the highlighted ingredient, vanilla, to characterize the taste or flavor of the Products,

 which is desired by consumers.

        133. The Products warranted to Plaintiff and class members that they possessed

 substantive, functional, nutritional, qualitative, compositional, organoleptic, sensory, physical and

 other attributes which they did not due to the presence or absence of the aforementioned ingredient.

        134. Defendant had a duty to disclose and/or provide a non-deceptive description and

 identification of the Product and its ingredients.

        135. This duty is based, in part, on defendant’s position as one of the most recognized

 companies in the nation in this sector.

        136. Plaintiff provided or will provide notice to defendant, its agents, representatives,

 retailers and their employees.

        137. The Product did not conform to its affirmations of fact and promises due to

 defendant’s actions and were not merchantable.

        138. Plaintiff and class members relied on defendant’s claims, paying more than they

 would have.

                                                Fraud


        139. Plaintiff incorporates by references all preceding paragraphs.


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        140. Defendant’s purpose was to sell a product which purported to contain valuable and

 desired characterizing ingredients and/or flavors, and represent the Products were exclusively

 flavored by the designated ingredients and contained sufficient independent amounts of same.

        141. Defendant’s fraudulent intent is evinced by its failure to accurately indicate the

 Products contained less of the desired ingredient or none at all.

        142. Plaintiff and class members observed and relied on defendant’s claims, causing them

 to pay more than they would have, entitling them to damages.

                                             Unjust Enrichment

        143. Plaintiff incorporates by reference all preceding paragraphs.

        144. Defendant obtained benefits and monies because the Product were not as represented

 and expected, to the detriment and impoverishment of Plaintiff and class members, who seek

 restitution and disgorgement of inequitably obtained profits.

                                    Jury Demand and Prayer for Relief

 Plaintiff demands a jury trial on all issues.

     WHEREFORE, Plaintiff prays for judgment:

    1. Declaring this a proper class action, certifying Plaintiff as representative and undersigned

        as counsel for the class;

    2. Entering preliminary and permanent injunctive relief by directing defendant to correct the

        challenged practices to comply with the law;

    3. Injunctive relief to remove and/or refrain from the challenged representations, restitution

        and disgorgement for members of the State Subclasses pursuant to the consumer protection

        laws of their States;

    4. Awarding monetary damages and interest, including treble and punitive damages, pursuant

        to the common law and consumer protection law claims, and other statutory claims;


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    5. Awarding costs and expenses, including reasonable fees for plaintiff's attorneys and

       experts; and

    6. Other and further relief as the Court deems just and proper.

 Dated: November 29, 2019
                                                               Respectfully submitted,

                                                               Sheehan & Associates, P.C.
                                                               /s/Spencer Sheehan
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 1:19-cv-06736
 United States District Court
 Eastern District of New York

 Lianna King, individually and on behalf of all others similarly situated,


                                          Plaintiff,


         - against -


 H Mart, Inc.,
                                           Defendant




                                            Complaint




                           Sheehan & Associates, P.C.
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                              Great Neck, NY 11021
                               Tel: (516) 303-0552
                               Fax: (516) 234-7800




 Pursuant to 22 NYCRR 130-1.1, the undersigned, an attorney admitted to practice in the courts of
 New York State, certifies that, upon information, and belief, formed after an inquiry reasonable
 under the circumstances, the contentions contained in the annexed documents are not frivolous.

 Dated: November 29, 2019
                                                                             /s/ Spencer Sheehan
                                                                              Spencer Sheehan
